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                              IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

SANDRA LAOUNE HUFF,                              §
                                                 §
                 Plaintiff,                      §
                                                 §
v.                                               §   Civil Action No. 3:19-CV-1625-L-BH
                                                 §
ANDREW M. SAUL,                                  §
COMMISSIONER OF THE SOCIAL                       §
SECURITY ADMINISTRATION,                         §
                                                 §
                 Defendant.                      §

                                             ORDER

       On September 8, 2020, the Findings, Conclusions and Recommendation of the United States

Magistrate Judge (Doc. 20) (“Report”) was entered, recommending that the court affirm the decision

of the Commissioner of Social Security Administration (“Commissioner”). Plaintiff filed objections

to the Report, which were docketed on September 22, 2020.

       The issues in Plaintiff’s objections were addressed in detail in the Report. Notwithstanding

Plaintiff’s disagreement and objections to the contrary, the court determines, after considering the

file, record in this case, and Report, and conducting a de novo review of that portion of the Report

to which objection was made, that the magistrate judge’s findings and conclusions are correct. The

court, therefore, accepts the magistrate judge’s findings and conclusions as those of the court;

overrules Plaintiff’s objections; affirms the Commissioner’s decision; and dismisses with

prejudice this appeal.




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       It is so ordered this 23rd day of September, 2020.




                                                   _________________________________
                                                   Sam A. Lindsay
                                                   United States District Judge




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